                                      Case 2:16-cv-01943-RFB-PAL Document 19 Filed 05/04/17 Page 1 of 3



                            1   Michael Kind, Esq.
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                            5   mkind@kazlg.com
                                Attorneys for Plaintiff Kamiliha Brewster
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                            9
                           10                          UNITED STATES DISTRICT COURT
                           11                               DISTRICT OF NEVADA
KAZEROUNI LAW GROUP, APC




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                                      Kamiliha Brewster,                              Case No.: 2:16-cv-01943-RFB-PAL
   7854 W. Sahara Avenue
    Las Vegas, NV 89117




                           13
                           14                               Plaintiffs,               Notice of Settlement
                                      v.
                           15
                           16         Midland Credit Management, Inc.,
                           17                               Defendant.
                           18
                           19
                           20                                                 NOTICE
                           21              The dispute between Plaintiff Kamiliha Brewster (“Plaintiff”) and Defendant
                           22   Midland Credit Management, Inc. (“Defendant”) has been resolved on an
                           23   individual basis.
                           24   ///
                           25   ///
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                                ________________________________________________________________________________________________________
                                NOTICE OF SETTLEMENT                           !1                      CASE NO.: 2:16-cv-01943-RFB-PAL
                                    Case 2:16-cv-01943-RFB-PAL Document 19 Filed 05/04/17 Page 2 of 3



                            1           Plaintiff anticipates filing dismissal documents as to Plaintiff’s claims against
                            2    Defendant, with prejudice, within 60 days—on or before July 3, 2017.
                            3
                            4           DATED this 4th day of May 2017.
                            5
                            6                                                        Respectfully submitted,
                            7
                                                                                     KAZEROUNI LAW GROUP, APC
                            8
                            9                                                        By: /s/ Michael Kind
                                                                                         Michael Kind, Esq.
                           10
                                                                                         7854 W. Sahara Avenue
                           11                                                            Las Vegas, NV 89117
                                                                                         Attorneys for Plaintiff
KAZEROUNI LAW GROUP, APC




                           12
   7854 W. Sahara Avenue
    Las Vegas, NV 89117




                           13
                           14        IT IS ORDERED that the settling parties shall have until July 4, 2017, to either file their
                           15 stipulation to dismiss, or a joint status report indicating when the stipulation will be filed.

                           16         Dated: May 5, 2017
                           17
                                                                                                     ___________________________
                           18                                                                        Peggy A. Leen
                           19                                                                        United States Magistrate Judge

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                                 NOTICE OF SETTLEMENT                           !2                      CASE NO.: 2:16-cv-01943-RFB-PAL
                                   Case 2:16-cv-01943-RFB-PAL Document 19 Filed 05/04/17 Page 3 of 3



                            1                                  CERTIFICATE OF SERVICE
                            2          I HEREBY CERTIFY pursuant to Rule 5 of the Federal Rules of Civil
                            3   Procedure that on May 4, 2017, the foregoing Notice of Settlement was served via
                            4   CM/ECF to all parties appearing in this case.
                            5
                                                                          Kazerouni Law Group, APC
                            6
                            7                                             By: /s/ Michael Kind
                                                                              Michael Kind
                            8
                                                                              7854 W. Sahara Avenue
                            9                                                 Las Vegas, NV 89117
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KAZEROUNI LAW GROUP, APC




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    Las Vegas, NV 89117




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                                NOTICE OF SETTLEMENT                                                   CASE NO.: 2:16-cv-01943-RFB-PAL
